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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

TERESA BLOODMAN, PARENT AND NATURAL GUARDIAN OF
JOHN DOE, A MINOR CHILD                         PLAINTIFF

V.                            CASE NUMBER: 4:11-CV-00818-JMM

DR. TOM KIMBRELL, ARKANSAS DEPARTMENT OF EDUCATION,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. JERRY GUESS, SUPERINTENDENT, PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. TAMEKA BROWN, PRINCIPAL, MAUMELLE HIGH SCHOOL
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
MICHAEL SHOOK, COACH, MAUMELLE HIGH SCHOOL, INDIVIDUALLY
NAMED AND OFFICIAL CAPACITY;
GROVER GARRISON, COACH, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
SHERMAN COX, ATHLETIC DIRECTOR, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY         DEFENDANTS

 PLAINTIFFS’ RESPONSE TO DEFENDANT’S JOINT MOTION TO EXTEND
                          DEADLINES


        Comes now the Plaintiffs and for their response to the Defendants Joint Motion to

Extend Deadlines state:

        1.     That on May 7, 2012, at 6:20 a.m., Plaintiffs filed their motion for

extension of the discovery deadline based upon the resistance by the Defendants to agree

to any discovery pending resolution of both the Motion for Protective Order and of their

Motion to Dismiss prior to the Defendants filing of an extension. (See Docket Entry 57)

        2.     That on May 7, 2012, at 11:25 a.m., Defendants filed their motion to

Extend.

        3.     That the Plaintiffs motion to extend was granted by this court on May 9,

2012.
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       4.      That the Defendants’ position that an extension of time is inappropriate

and nonsensical in light of the fact that the scheduling order requires completion within a

certain time frame.

       5.      Further, the Defendant’s cite no authority as the basis for granting their

motion.

       6.      That the Plaintiff’s motion for extension has been granted, thus leaving

Defendant’s motion as moot.

       WHEREFORE, the undersigned prays that the Defendant’s Joint Motion to

Extend Deadlines be denied as moot and for all other proper and just relief.

                                                     Respectfully submitted,

                                                     /s/Teresa Bloodman
                                                     Teresa Bloodman #2005055
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                            CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 17th day of April 2012, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to all CM/ECF participating counsel of record listed below; and
I further certify that I have mailed the document, via U.S. Mail, postage prepaid, to all
non CM/ECF participants listed below:

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